      Case 1:15-cv-01505-BAH                  Document 53-1             Filed 06/28/18          Page 1 of 5


From:               Etjesq@aol.com
To:                 Finkhousen, Aaron (OAG)
Subject:            Re: Dar"Juan McRoy - Settlement
Date:               Wednesday, March 16, 2016 9:17:01 AM


Good morning--

Unfortunately I have not been able to complete my invoice so I think, at least for this one reason if not
others, that any concrete settlement proposal would be difficult at this point. I will work on this during the
next week or two. Hopefully when you return from your trip I will be in a better position to discuss
settlement.

Elizabeth

In a message dated 3/2/2016 10:43:20 A.M. Eastern Standard Time, aaron.finkhousen@dc.gov writes:

  Ms. Jester,



  I’m writing to follow up on the below settlement offer. Do you have any response?



  Best,



  Aaron



  Aaron Finkhousen

  Assistant Attorney General

  Office of the Attorney General for the District of Columbia, Civil Litigation Division

  441 4th Street, NW

  Washington, DC 20001

  Office (202) 724-7334

  Fax (202) 730-0493

  aaron.finkhousen@dc.gov



  Confidentiality Notice: This message is being sent by or on behalf of a lawyer. It is intended exclusively for
  the individual or entity to which it is addressed. This communication may contain information that is
  proprietary, privileged or confidential or otherwise legally exempt from disclosure. If you are not the
  named addressee, you are not authorized to read, print, retain, copy or disseminate this message or any
  part of it. If you have received this message in error, please notify the sender immediately by e-mail and
    Case 1:15-cv-01505-BAH                 Document 53-1            Filed 06/28/18         Page 2 of 5


delete all copies of the message.



Metadata: This e-mail transmission and any accompanying material may contain embedded metadata.
Any included metadata is confidential or privileged information and is not intended to be viewed by a non-
client recipient.




From: Finkhousen, Aaron (OAG)
Sent: Friday, February 19, 2016 10:31 AM
To: 'Etjesq@aol.com'
Subject: RE: Dar'Juan McRoy - Settlement



Ms. Jester,



DCPS is willing to conduct a new FBA. However, the FBA would be done over several days
and requires input from various stake holders, including the teacher. Thus, it is best that
DCPS does the FBA. If you could agree to DCPS conducting the FBA, we could agree to
conduct the remaining evaluations we’ve discussed independently, according to DCPS’
ordinary procedures (i.e. the pricing limits – I admit I’m not too familiar with the specific
limitations, but I can provide this information if you don’t already have it).



I understand your concern about the broad wording of our release forms. However, I think,
here, that concern is misplaced. If the student is getting all new evaluations, then the next
steps would be to ensure that DCPS complies with the IDEA in its response to those new
evaluations. Now, if there is a specific carve-out that you are concerned about, we can
discuss that issue.



Regarding attorney’s fees, DCPS cannot make an offer without having a copy of your
invoice. This requirement is necessary because of audit requirements imposed on DCPS.
And, DCPS can take up to 4 weeks to make an offer once it receives an invoice. If attorney’s
fees are the only thing standing in the way of settlement (and it appears they are), we would
agree to extending the briefing schedule to avoid additional fees. To give you a starting
point, DCPS would likely agree to 75% of Laffey rates with some reasonable reduction based
on the degree of success at the administrative hearing and the current posture of this case.



Best,
    Case 1:15-cv-01505-BAH                  Document 53-1             Filed 06/28/18          Page 3 of 5


Aaron



Aaron Finkhousen

Assistant Attorney General

Office of the Attorney General for the District of Columbia, Civil Litigation Division

441 4th Street, NW

Washington, DC 20001

Office (202) 724-7334

Fax (202) 730-0493

aaron.finkhousen@dc.gov



Confidentiality Notice: This message is being sent by or on behalf of a lawyer. It is intended exclusively for
the individual or entity to which it is addressed. This communication may contain information that is
proprietary, privileged or confidential or otherwise legally exempt from disclosure. If you are not the
named addressee, you are not authorized to read, print, retain, copy or disseminate this message or any
part of it. If you have received this message in error, please notify the sender immediately by e-mail and
delete all copies of the message.



Metadata: This e-mail transmission and any accompanying material may contain embedded metadata.
Any included metadata is confidential or privileged information and is not intended to be viewed by a non-
client recipient.




From: Etjesq@aol.com [mailto:Etjesq@aol.com]
Sent: Friday, February 12, 2016 12:32 PM
To: Finkhousen, Aaron (OAG)
Subject: Re: Dar'Juan McRoy - Settlement



Good afternoon--



Yes we are seeking independent evaluations.  We have been requesting these independent
 evaluations for over a year. The Hearing Officer specifically found that we are entitled to the
independent evaluations. He erred in ordering only one independent evaluation.



In terms of the FBA, the Hearing Officer specifically found that an FBA was not conducted in
January 2015 HOD at 67-68 and therefore the BIP developed in Jan. 2015 was not
    Case 1:15-cv-01505-BAH               Document 53-1           Filed 06/28/18        Page 4 of 5


appropriate.  Consequently an independent FBA/BIP is being sought.



In terms of an overall settlement, I know that your office uses very broad language in a
settlement agreement. So much has happened in this case that I could not possibly recommend
to Ms. Jones that she accept a broad waiver of all claims that may have arisen since the
complaint was filed.



In terms of attorney fees, it will take me quite a bit of time to have the invoice drafted. Work has
started on it but it is very lengthy.



Finally, I do not want to respond to a settlement proposal one piece at a time. Please forward
your total proposal and I will review it with Ms. Jones.



I do hope we can resolve this case. I look forward to receiving your proposal.



Elizabeth Jester



In a message dated 2/12/2016 8:31:43 A.M. Eastern Standard Time, aaron.finkhousen@dc.gov
writes:

  Ms. Jester,



  I’d like to clarify a few things regarding settlement. Are you seeking independent
  evaluations or could DCPS do the evaluations you’re seeking? Specifically, would you
  accept DCPS doing:

          Cognitive and social/emotional testing and ADHD assessment

          Comprehensive speech-language evaluation that includes assessment of the
          student’s language processing

          Comprehensive occupational therapy evaluation

          Comprehensive assistive technology evaluation



  Are you seeking another FBA? It’s my understanding that Dar’Juan had an FBA in
  January 2015.



  Could you send me either an invoice regarding your attorney’s fees or a ballpark figure?



  If you agree to allow DCPS to do the evaluations, then I think we’re very close to
    Case 1:15-cv-01505-BAH             Document 53-1            Filed 06/28/18           Page 5 of 5


settlement here.



Best,



Aaron



Aaron Finkhousen

Assistant Attorney General

Office of the Attorney General for the District of Columbia, Civil Litigation Division

441 4th Street, NW

Washington, DC 20001

Office (202) 724-7334

Fax (202) 730-0493

aaron.finkhousen@dc.gov



Confidentiality Notice: This message is being sent by or on behalf of a lawyer. It is
intended exclusively for the individual or entity to which it is addressed. This
communication may contain information that is proprietary, privileged or confidential or
otherwise legally exempt from disclosure. If you are not the named addressee, you are
not authorized to read, print, retain, copy or disseminate this message or any part of it.
If you have received this message in error, please notify the sender immediately by e-
mail and delete all copies of the message.



Metadata: This e-mail transmission and any accompanying material may contain
embedded metadata. Any included metadata is confidential or privileged information
and is not intended to be viewed by a non-client recipient.




Learn the basics of life-saving hands only CPR in 20 minutes. Visit the DC FEMS Hands on
Hearts campaign at http://handsonhearts.dc.gov to sign up for existing classes or email
hands.onhearts@dc.gov to schedule a class for your office or organization.​


=
